                Case 2:18-cv-00537-JLR Document 283 Filed 10/16/20 Page 1 of 2



                                                             THE HONORABLE JAMES L. ROBART
 1

 2

 3

 4

 5
                                 UNITED STATES DISTRICT COURT
 6                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   JOHNNY B. DELASHAW, JR.,
                                                          CASE NO. 2:18-cv-00537-JLR
 9                                     Plaintiff,
                                                          ORDER GRANTING DEFENDANT
10                   v.                                   SEATTLE TIMES’ MOTION TO SEAL
                                                          (DKT. #257)
11   SEATTLE TIMES COMPANY, and
12   CHARLES COBBS,

13                                     Defendants.

14

15             THIS MATTER having come before the Court on Defendant Seattle Times’ Motion to
16   Seal (Dkt. #257), and the Court having reviewed the motion, the response of Plaintiff
17   Dr. Delashaw, Defendant Dr. Cobbs, and any interested nonparties, the reply of the Seattle Times
18   Company, and the records herein, and being fully advised as to the issues presented, the Court
19   hereby:
20             ORDERS, ADJUDGES AND DECREES that Therefore, the Court GRANTS the Seattle
21   Times Company’s Motion to Seal pending consideration on the merits by the Court. The Clerk of
22   the District Court is instructed to maintain under seal the unredacted version of The Seattle Times’
23   Reply in Support of its Second Motion for Summary Judgment (Dkt. #258), which was
24   provisionally filed under seal.
25

26

     ORDER GRANTING DEFENDANT SEATTLE TIMES’
     MOTION TO SEAL (DKT. #257) - 1
                                                                         SUMMIT LAW GROUP PLLC
                                                                           315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. 2:18-cv-00537-JLR                                             SEATTLE, WASHINGTON 98104-2682
                                                                                 Telephone: (206) 676-7000
                                                                                    Fax: (206) 676-7001
             Case 2:18-cv-00537-JLR Document 283 Filed 10/16/20 Page 2 of 2




 1         IT IS SO ORDERED.

 2         DATED this 16th day of October, 2020.

 3

 4

 5
                                                     A
                                                     The Honorable James L. Robart
 6                                                   U.S District Court Judge
 7

 8
 9

10
     Presented by:
11
     SUMMIT LAW GROUP PLLC
12   Attorneys for Defendant Seattle Times Company
13   By s/Jessica L. Goldman
        Jessica L. Goldman, WSBA #21856
14      Christopher T. Wion, WSBA #33207
        Tanya Nesbitt, WSBA #56122
15      315 Fifth Ave. S., Suite 1000
        Seattle, WA 98104
16      Tel: (206) 676-7000
        Email: jessicag@summitlaw.com,
17      chrisw@summitlaw.com,
        tanyan@summitlaw.com
18
19

20

21

22

23

24

25

26

     ORDER GRANTING DEFENDANT SEATTLE TIMES’
     MOTION TO SEAL (DKT. #257) - 2
                                                                  SUMMIT LAW GROUP PLLC
                                                                    315 FIFTH AVENUE SOUTH, SUITE 1000
     CASE NO. 2:18-cv-00537-JLR                                      SEATTLE, WASHINGTON 98104-2682
                                                                          Telephone: (206) 676-7000
                                                                             Fax: (206) 676-7001
